Case 2:14-cv-00595-WBS-JDP Document 80-17 Filed 12/15/14 Page 1 of 11




                         Exhibit Q




                               -127-
Case 2:14-cv-00595-WBS-JDP Document 80-17 Filed 12/15/14 Page 2 of 11




                               -128-
Case 2:14-cv-00595-WBS-JDP Document 80-17 Filed 12/15/14 Page 3 of 11




                               -129-
Case 2:14-cv-00595-WBS-JDP Document 80-17 Filed 12/15/14 Page 4 of 11




                               -130-
Case 2:14-cv-00595-WBS-JDP Document 80-17 Filed 12/15/14 Page 5 of 11




                               -131-
Case 2:14-cv-00595-WBS-JDP Document 80-17 Filed 12/15/14 Page 6 of 11




                               -132-
Case 2:14-cv-00595-WBS-JDP Document 80-17 Filed 12/15/14 Page 7 of 11




                               -133-
Case 2:14-cv-00595-WBS-JDP Document 80-17 Filed 12/15/14 Page 8 of 11




                               -134-
Case 2:14-cv-00595-WBS-JDP Document 80-17 Filed 12/15/14 Page 9 of 11




                               -135-
Case 2:14-cv-00595-WBS-JDP Document 80-17 Filed 12/15/14 Page 10 of 11




                                -136-
Case 2:14-cv-00595-WBS-JDP Document 80-17 Filed 12/15/14 Page 11 of 11




                                -137-
